        Case 2:20-cv-00657-MV-KBM Document 8 Filed 10/16/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


ANGEL DOMINGUEZ,

               Plaintiff,

vs.                                                  No. CV 20-00657 MV/KBM


STATE OF NEW MEXICO,

               Defendants.

                       ORDER GRANTING LEAVE TO PROCEED
                           PURSUANT TO 28 U.S.C. § 1915(b),
                      AND TO MAKE PAYMENTS OR SHOW CAUSE

       This matter is before the Court on the Applications to Proceed in District Court Without

Prepaying Fees or Costs filed by Plaintiff Angel Dominguez. (Doc. 2). Based on analysis of his

Application and the inmate account statement (Doc. 5 at 3-6), the Court grants Plaintiff leave to

proceed under 28 U.S.C. § 1915(a) and (b). Because the Court grants the application, the filing

fee for this civil rights complaint is $350.00. Pursuant to § 1915(b)(1), Plaintiff is required to

make installment payments until the full amount of the filing fee is paid.

       Plaintiff’s inmate account statement shows total deposits over the six-month period

preceding filing in the amount of $3,033.00 and average monthly deposits in the amount of

$505.50. (Doc. 5 at 3-6). Analyzing Plaintiff’s inmate account statement (Doc. 5 at 3-6) under §

1915(b)(1), the Court finds that Plaintiff owes an initial partial payment of $101.10 (20% of

$505.50). If Plaintiff fails to make a payment by the designated deadline or show cause why such

payment should be excused, the civil rights complaint may be dismissed without further notice.




                                                 1
        Case 2:20-cv-00657-MV-KBM Document 8 Filed 10/16/20 Page 2 of 2




       IT IS THEREFORE ORDERED that the Application to Proceed in District Court Without

Prepaying Fees or Costs filed by Plaintiff Angel Dominguez (Doc. 2) and the Motion to Cure

Deficiency (Doc. 5) are GRANTED;

       IT IS FURTHER ORDERED that, within thirty (30) days of entry of this Order, Plaintiff

send to the Clerk an initial partial payment of $101.10 or show cause why payment should be

excused;

       IT IS FURTHER ORDERED that the Clerk is directed to provide Plaintiff with two copies

of this Order, and that Plaintiff make the necessary arrangements to attach one copy of this Order

to the check in the $101.10 amount of the initial partial payment;

       IT IS FINALLY ORDERED that, after payment of the $101.10 initial partial fee, Plaintiff

make monthly payments of twenty per cent (20%) of the preceding month’s income credited to his

account or show cause why the designated payments should be excused.




                                      _____________________________________
                                      UNITED STATES MAGISTRATE JUDGE




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